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IN THE UNITED STATES DISTRICT COURT HLED B? fich-
FOR THE WESTERN DISTRICT OF TENNESSEE

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CHARLES HENDERSON, ) CIM mu;§ i“Pq’Qi:;'§Ut…
Plaimirr, §
vs. § No.: 03-2162 DAn
soUerEsT TENNESSEE §
CoMMUNITY CoLLEGE )
Defendant. §

 

ORDER SETTING SETTLEMENT CONFERENCE

 

Pursuant to the Order of Reference entered by U.S. District Court Judge Bernice B.
Donald, a Settlement Conference has been scheduled for WEDNESDAY, SEPTEMBER 7,
2005 at 10:00 A.M. in Room 934, Ninth Floor of the F ederal Building, 167 N. Main, Memphis,
Tennessee.

The lead attorney who Will try the case for each party must appear In addition, the
parties or representatives of corporate parties must be present at the conference and must possess
full authority to approve any settlement If any part of the potential liability of a party is
insured, or subject to idemnity, a representative of an insurer or indemnitor With authority to pay
the full policy of indemnity limits, must also be present at the conferencel

Counsel shall submit to charnbers, not later than three (3) days before the scheduled

settlement conference, an in camera Statement Which shall include a Statement Of the ease’
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explanation of damages claimed, current status of settlement discussions and a brief summary of
any expert testimony that would likely be introduced at trial by any party. Counsel are invited to
include any other matters that might assist the Magistrate Judge in negotiating a settlement Such
statements shall be for the court’s review only and a copy shall n_ot be provided to opposing
parties. Counsel shall fax a copy of the in camera statement to my chambers in Jackson at (731)
421-9272.

Counsel and representatives of the parties shall be prepared to stay the entire day if
necessary

IT IS SO ORDERED.

/S./Y;);¢;Aa a&~,>

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: czz;mf Z~.C ZOOJ/

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:03-CV-02162 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Kathleen L. Caldvvell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

l\/lemphis7 TN 38104

Glenvvood Paris Roane

LAW OFFICE OF GLENWOOD P. ROANE, SR.
217 EXchange Ave.

l\/lemphis7 TN 38105--350

Zachary S. Grifiith

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Honorable Bernice Donald
US DISTRICT COURT

